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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

   IN RE: Andrew D. Vinson                                BK NO. 18-00596 HWV
                                     Debtor(s)
                                                          Chapter 13
   FREEDOM MORTGAGE
   CORPORATION                                            Related to Claim No. 12-1
                                     Movant
                    vs.

   Andrew D. Vinson
                                     Debtor(s)

   Jack N. Zaharopoulos,
                                     Trustee

                         CERTIFICATE OF SERVICE
           RESPONSE TO NOTICE OF FINAL CURE MORTGAGE PAYMENT
   I, Denise Carlon of KML Law Group, P.C., certify that I am, and at all times hereinafter mentioned
   was, more than 18 years of age and that on July 12, 2023, I served the above captioned pleading,
   filed in the proceeding on the parties at the addresses shown below:

                                                          Attorney for Debtor(s) (via ECF)
   Debtor(s)                                              Nicholas G. Platt
   Andrew D. Vinson                                       Mooney Law
   26 Overlook Drive                                      230 York Street
   Hanover, PA 17331                                      Hanover, PA 17331

                                                          Trustee (via ECF)
                                                          Jack N. Zaharopoulos
                                                          Standing Chapter 13 (Trustee)
                                                          8125 Adams Drive
                                                          Hummelstown, PA 17036


   Method of Service: electronic means or first-class mail.

   Dated: July 12, 2023

                                                              /s/ Denise Carlon
                                                              Denise Carlon Esquire
                                                              Attorney I.D. 317226
                                                              KML Law Group, P.C.
                                                              BNY Mellon Independence Center
                                                              701 Market Street, Suite 5000
                                                              Philadelphia, PA 19106
                                                              201-549-2363
                                                              dcarlon@kmllawgroup.com




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